                      IN THE SUPREME COURT
                      STATE OF NORTH DAKOTA

                                         2024 ND 164
State of North Dakota,                                      Plaintiff and Appellee
       v.
Christapher Branden Enriquez,                      Defendant and Appellant


                                     No. 20240087

Appeal from the District Court of Ward County, North Central Judicial District, the
Honorable Douglas L. Mattson, Judge.

REVERSED.

Opinion of the Court by Bahr, Justice.

Tiffany M. Sorgen, Assistant State’s Attorney, Minot, ND, for plaintiff and appellee;
submitted on brief.

Rina Morales-Holmes, Minot, ND, for defendant and appellant; submitted on brief.
                                       State v. Enriquez
                                         No. 20240087

Bahr, Justice.

[¶1] Christapher Enriquez appeals a district court’s order revoking his probation. We
hold the district court’s finding Enriquez possessed a firearm or dangerous weapon in
violation of his probation is clearly erroneous. We further hold the court abused its
discretion by revoking Enriquez’s probation. We reverse.

                                              I

[¶2] Enriquez pled guilty to possession of a controlled substance with intent to deliver
or manufacture, a class B felony. Enriquez’s sentence included probation. One condition
of Enriquez’s probation was he “not possess a firearm, destructive device or other
dangerous weapon.”

[¶3] While Enriquez was on probation, federal officers from the Drug Enforcement
Administration (DEA) executed a federal search warrant on his home. During the search,
the federal officers purportedly found a handgun, fentanyl pills, and methamphetamine. A
DEA agent texted Enriquez’s probation officer a picture “that had the handgun and the
narcotics[.]”

[¶4] The State filed a petition to revoke Enriquez’s probation on three grounds:
possession of a handgun; possession of fentanyl; and possession of methamphetamine. At
the probation revocation hearing, the State presented testimony from Enriquez’s probation
officer; no other witnesses testified. Addressing the first allegation, the probation officer
testified he received a picture of the handgun:

       Q All right. Okay. And were you provided documentation from the
       Department of Justice with—from DEA with regards to this search?
       A So when the search was happening, I was initially sent a picture that had
       the handgun and the narcotics and—

       . . . [Objection overruled] . . .

       Q Okay. You were saying?
       A I was sent a text message of a picture with the evidence that was found
       during the search and I was sent a report from Special Agent Uler (ph.) with
       the DEA.


                                              1
The probation officer further testified the address of the search was the address on file for
Enriquez. On cross-examination, the probation officer testified he did not know where in
the house the federal officers found the handgun. He further testified he did not know
whether the handgun was functional.

[¶5] The State did not introduce the firearm or the picture of the firearm. The probation
officer testified he received a report from a DEA agent; he did not testify about the
substance of the report and the State did not introduce the report.

[¶6] At the end of the hearing, the district court held the State did not prove Enriquez
possessed fentanyl or methamphetamine. The court held the State proved by a
preponderance of the evidence Enriquez possessed a handgun, which was a firearm or
dangerous weapon. The court revoked Enriquez’s probation and resentenced him. See State
v. Hager, 2010 ND 217, ¶ 8, 790 N.W.2d 745 (“[T]he State need show only a single
violation to sustain revocation of probation[.]” (quoting State v. Jacobsen, 2008 ND 52, ¶
15, 746 N.W.2d 405)).

                                             II

[¶7] “If an alleged probation violation is contested, the prosecution must establish the
violation by a preponderance of the evidence.” State v. Hatzenbuehler, 2023 ND 192, ¶ 6,
996 N.W.2d 649. “We apply a two-step analysis in reviewing a probation revocation. ‘[W]e
first review the district court’s factual findings under the clearly erroneous standard and
then review the court’s decision to revoke probation under the abuse-of-discretion
standard.’” Id. (quoting State v. Dockter, 2019 ND 203, ¶ 11, 932 N.W.2d 98) (internal
citation omitted). “Findings of fact are adequate if they provide this Court with an
understanding of the district court’s factual basis used in reaching its determination.” Id.(quoting State v. Bergstrom, 2006 ND 45, ¶ 15, 710 N.W.2d 407). “A finding of fact is
clearly erroneous if, although there may be some evidence to support it, the reviewing court
on the entire evidence, is left with a definite and firm conviction a mistake has been made.”
Id. (quoting State v. Ballweg, 2003 ND 153, ¶ 14, 670 N.W.2d 490). “A court abuses its
discretion if it acts in an arbitrary, unreasonable, unconscionable, or capricious manner, if
its decision is not the product of a rational mental process leading to a reasoned
determination, or if it misinterprets or misapplies the law.” State v. Dockter, 2019 ND 203,
¶ 11, 932 N.W.2d 98.




                                             2
[¶8] “Revocation of probation is not a stage of a criminal prosecution, and therefore the
same rights and standards do not apply.” State v. Wetzel, 2011 ND 218, ¶ 14, 806 N.W.2d
193. “The Rules of Evidence do not apply in probation revocation proceedings.” Id.; see
also N.D.R.Ev. 1101(d)(3)(E). “Hearsay evidence is admissible at probation revocation
hearings.” State v. McAvoy, 2008 ND 204, ¶ 11, 757 N.W.2d 394.

                                              A

[¶9] Enriquez argues the district court erred when it found he possessed a firearm or
dangerous weapon.

                                              1

[¶10] Enriquez argues the State did not prove he possessed the handgun.

[¶11] “Possession may be ‘actual or constructive, exclusive or joint and may be shown
entirely by circumstantial evidence.’” State v. Wiese, 2024 ND 39, ¶ 11, 4 N.W.3d 242
(quoting State v. Christian, 2011 ND 56, ¶ 11, 795 N.W.2d 702). “Constructive possession
is proven where evidence ‘establishes that the accused had the power and capability to
exercise dominion and control over the [item].’” Id. (quoting Christian, ¶ 11). Constructive
possession “can be inferred from the totality of circumstances associated with a particular
case.” State v. Dymowski, 458 N.W.2d 490, 500 (N.D. 1990). Some “circumstances which
may support an inference of constructive possession are an accused’s presence in the place
where [the item] is found, his proximity to the place where it is found, and the fact that the
[item] is found in plain view.” State v. Dahl, 2022 ND 212, ¶ 6, 982 N.W.2d 580 (quoting
State v. Demarais, 2009 ND 143, ¶ 8, 770 N.W.2d 246). Of course, the identified factors
are “not intended to be an all-inclusive list. As mentioned, constructive possession can be
inferred from the totality of the circumstances.” Dymowski, 458 N.W.2d at 500.

[¶12] Here, the probation officer testified the address of the search was the address on file
for Enriquez. He also testified Enriquez was present when the federal officers executed the
search warrant, but that he does not know where in the house the handgun was found. On
cross-examination, the probation officer acknowledged “there was another person at his
residence as well[.]” It is not clear from the record whether the other person lived at
Enriquez’s residence or was simply present when the search warrant was executed. Thus,
the essence of the State’s evidence is the federal officers located a handgun at Enriquez’s
residence while Enriquez was at the residence.



                                              3
[¶13] In Dymowski, we noted other jurisdictions have recognized “the presence of a
controlled substance on a person’s premises is relevant evidence of possession of the
substance.” 458 N.W.2d at 500. “Possession of a firearm by a prohibited possessor is akin
to illegally possessing a controlled substance or other contraband.” In Int. of D.D., 2018
ND 201, ¶ 15, 916 N.W.2d 765. “It is well established that, ordinarily, when narcotics or
contraband materials are found on a defendant’s premises, the evidence of unlawful
possession is deemed sufficient to sustain a conviction in the absence of any other
reasonable explanation for its presence.” State v. Brennen, 356 N.W.2d 861, 865 (Neb.
1984); see also United States v. Morris, 977 F.2d 617, 620 (D.C. Cir. 1992) (“A jury is
entitled to infer that a person exercises constructive possession over items found in his
home.”); Moore v. United States, 927 A.2d 1040, 1050 (D.C. 2007) (“Evidence showing
the accused’s control or occupancy of the premises in which the contraband is found may
also serve to prove constructive possession.”); Johnson v. United States, 290 A.3d 500, 516
(D.C. 2023) (“When illicit items have been discovered in the accused’s own home, a jury
usually may infer that the accused had the requisite knowledge, dominion and control of
them.”); State v. Lattin, 256 So. 3d 484, 489 (La. Ct. App. 2018) (“Courts have generally
found evidence of constructive possession when a gun is found in an area customarily
occupied by the defendant.”); cf. Morris, 977 F.2d at 620 (“The inference that a person
who occupies an apartment has dominion and control over its contents applies even when
that person shares the premises with others[.]”).

[¶14] The federal officers found the handgun at Enriquez’s residence while he was
present. The district court could reasonably infer Enriquez had control over his residence,
and thus the handgun. McAvoy, 2008 ND 204, ¶¶ 12-13 (affirming probation revocation
after noting reasonable inferences the district court could make based on the evidence).

[¶15] We conclude the district court’s finding Enriquez possessed the handgun is not
clearly erroneous because there is some evidence to support it and we are not left with a
definite and firm conviction a mistake has been made.

                                            2

[¶16] Enriquez argues the State did not prove the handgun was functional. Specifically,
Enriquez argues there was no “testimony that the firearm was capable of expelling a
projectile or was functional in any regard.”




                                            4
[¶17] Although not cited in his brief, Enriquez’s argument appears to be based on the
definitions of “dangerous weapon” and “firearm” in N.D.C.C. § 12.1-01-04(6) and (9). Our
standard of review for interpreting a criminal statute is well established:

               Construction of a criminal statute is a question of law, fully
       reviewable by this Court. Our primary goal in interpreting statutes is to
       ascertain the Legislature’s intentions. In ascertaining legislative intent, we
       first look to the statutory language and give the language its plain, ordinary
       and commonly understood meaning. We interpret statutes to give meaning
       and effect to every word, phrase, and sentence, and do not adopt a
       construction which would render part of the statute mere surplusage. When
       a statute’s language is ambiguous because it is susceptible to differing but
       rational meanings, we may consider extrinsic aids, including legislative
       history, along with the language of the statute, to ascertain the Legislature’s
       intent. We construe ambiguous criminal statutes against the government and
       in favor of the defendant.

State v. Vetter, 2013 ND 4, ¶ 11, 826 N.W.2d 334 (quoting State v. Buchholz, 2005 ND 30,
¶ 6, 692 N.W.2d 105).

[¶18] Section 12.1-01-04(6), N.D.C.C., provides a “dangerous weapon” includes “any
weapon that will expel, or is readily capable of expelling, a projectile by the action of a
spring, compressed air, or compressed gas including any such weapon, loaded or unloaded,
commonly referred to as a BB gun, air rifle, or CO2 gun[.]” (Emphasis added.) Under
section 12.1-01-04(9), a “‘[f]irearm’ means any weapon that will expel, or is readily
capable of expelling, a projectile by the action of an explosive and includes any such
weapon, loaded or unloaded, commonly referred to as a pistol, revolver, rifle, gun, machine
gun, shotgun, bazooka, or cannon.” (Emphasis added.) The definitions in section 12.1-01-
04 apply to Title 12.1 “unless a different meaning plainly is required.” N.D.C.C. § 12.1-
01-04. Section 12.1-32-07(3), N.D.C.C., provides, in relevant part, “The court shall provide
as an explicit condition of every probation that the defendant may not possess a firearm,
destructive device, or other dangerous weapon while the defendant is on probation.” Thus,
the definitions of “dangerous weapon” and “firearm” in section 12.1-01-04(6) and (9) apply
to the probation condition Enriquez not possess a firearm or dangerous weapon.

[¶19] In finding Enriquez possessed a dangerous weapon or firearm, the district court cited
to State v. Clinkscales, 536 N.W.2d 661 (N.D. 1995), for the proposition the State did not
need to prove the firearm was functional. The court’s reliance on Clinkscales under the
facts of this case is misplaced.


                                             5
[¶20] In Clinkscales, Clinkscales committed a robbery at a convenience store “with a BB
gun resembling a 9mm semiautomatic pistol[.]” 536 N.W.2d at 663. During the robbery he
placed the BB gun into the store clerk’s back. Id. At trial the store clerk “testified that he
feared for his life when Clinkscales had the gun pressed into his back.” Id. at 665.
Clinkscales was convicted of armed robbery. Id at 663. On appeal Clinkscales argued “the
State did not prove the BB gun was ‘readily capable of expelling a projectile.’” Id. at 664.
This Court affirmed the conviction. Id. at 666. In doing so, we noted an element of Class
B felony robbery was willfully threatening or menacing another with serious bodily harm.
Id. at 664. Based on that element of the charge, the jury instruction defined “dangerous
weapon” to include “a weapon, the possession of which under the circumstances indicates
an intent or readiness to inflict serious bodily injury.” Id. We noted the store clerk “did not
know the gun was unloaded, or whether it was capable of expulsion; however, he obviously
believed that it was.” Id. at 665. We wrote, “A person who uses an unloaded or toy weapon
during a robbery is subject to an aggravated penalty because of the ‘heightened fear’ the
presence of a weapon creates in the victim.” Id. Thus, “whether capable of expulsion or
not,” the defendant used the BB gun under circumstances indicating “an intent or readiness
to inflict serious bodily injury.” Id.

[¶21] Unlike Clinkscales, Enriquez is not charged with armed robbery. Thus, the issue is
not whether Enriquez used the handgun under circumstances indicating an intent or
readiness to inflict serious bodily injury; the issue is whether the handgun, which the
district court found Enriquez constructively possessed, is a “dangerous weapon” or
“firearm” as defined in N.D.C.C. § 12.1-01-04(6) and (9). We hold the district court
misapplied the law when it applied Clinkscales to this case. However, this Court can still
affirm the court if it reached the right result. State v. Lafromboise, 2021 ND 80, ¶ 20, 959
N.W.2d 596 (“This Court long has embraced the rule that the district court’s result will be
affirmed if it is right for the wrong reason.”)

[¶22] The statutory definitions of a “dangerous weapon” and “firearm” in N.D.C.C. §
12.1-01-04(6) and (9) are plain and unambiguous. For purposes of this case, both
definitions require one of two alternative levels of functionality. The first functionality is
that the weapon “will expel” a projectile. The second functionality is that the weapon is
“readily capable of expelling” a projectile. The language in section 12.1-01-04(9) that a
“firearm” “includes any such weapon, loaded or unloaded, commonly referred to as a pistol
[or] revolver” clarifies but does not expand the definition of “firearm.” The word “such” is
a demonstrative adjective used to indicate the type or character previously indicated. See


                                              6
Merriam-Webster’s Collegiate Dictionary 1247 (11th ed. 2005); The Random House
Dictionary of the English Language 1899-1900 (2nd ed. 1987); such, Black’s Law
Dictionary 1738 (12th ed. 2024); A Dictionary of Modern Legal Usage 849 (2nd ed. 1995).
Thus, a pistol or revolver must be the type of weapon that “will expel” a projectile or is
“readily capable of expelling” a projectile to meet the definition of “firearm” in section
12.1-01-04(9).

[¶23] In State v. Murphy, 551 N.E.2d 932, 934 (Ohio 1990), the Ohio Supreme Court
interpreted the term “firearm” as defined in Ohio Rev. Code Ann. § 2923.11(B). Section
2923.11(B) defined “firearm” as “any deadly weapon capable of expelling or propelling
one or more projectiles by the action of an explosive or combustible propellant. ‘Firearm’
includes an unloaded firearm, and any firearm which is inoperable but which can readily
be rendered operable.” Id. at 934 (quoting R.C. 2929.71 codified as amended R.C.
2923.11(B) (emphasis added)). The court explained: “The foregoing definition includes
loaded as well as unloaded guns. It also includes operable guns, as well as inoperable guns
that can readily be rendered operable.” Id. Thus, the court concluded, the state must present
evidence meeting its burden of proof “that the firearm was operable, or could readily have
been rendered operable, at the time of the offense.” Id. at 935. Similarly, under N.D.C.C.
§ 12.1-01-04(9), to meet its burden of proof in the probation revocation proceedings, the
State was required to prove by a preponderance of the evidence that the handgun was able
to “expel” or “readily capable of expelling” a projectile at the time Enriquez possessed it.

[¶24] In Murphy, the Ohio Supreme Court addressed “the type of evidence” required for
the state to prove a device is a firearm. 551 N.E.2d at 934. Specifically, the court
determined whether the state can prove a weapon is a firearm, meaning it was operable or
could readily have been rendered operable, “without actually presenting scientific or direct
evidence as to the operability of the firearm.” The court held “the state can rely upon all of
the surrounding facts and circumstances” in meeting its burden of proof. Id. Although the
state must prove “the firearm was operable, or could readily have been rendered operable,
at the time of the offense,” such proof “can be established . . . by the testimony of lay
witnesses who were in a position to observe the instrument” and relevant circumstances.
Id. at 935. The court held “proof of the existence of a firearm may be based on lay
testimony, and is not dependent on an empirical analysis of the gun.” Id.; see also State v.
Thaler, 152 N.E.3d 933, 940 (Ohio Ct. App. 2020) (“Operability may be inferred from all
of the relevant facts and circumstances.”); State v. Perez, 146 Conn. App. 844, 850, 79
A.3d 149, 153 (Conn. App. 2013) (“Whether a firearm is one from which a shot may be


                                              7
discharged can be inferred from all of the facts and need not be established beyond a
reasonable doubt by direct evidence but may be established by circumstantial evidence.”
(quoting State v. Carpenter, 562 A.2d 35 (Conn. App. 1989)). We conclude the State can
rely on the surrounding facts and circumstances, including testimony from lay witnesses,
to prove a weapon is a “dangerous weapon” or “firearm” as defined in N.D.C.C. § 12.1-
01-04(6) and (9).

[¶25] At the revocation proceeding, the State had the burden to prove by a preponderance
of the evidence that Enriquez possessed a handgun that was able to “expel” or “readily
capable of expelling” a projectile. When considering the entire record, as previously
determined, there is testimony Enriquez had constructive possession of the handgun.
However, there is no evidence the handgun was able to “expel” or “readily capable of
expelling” a projectile. The probation officer did not observe the handgun. Although the
probation officer testified he saw a picture of the handgun, he did not testify regarding the
condition of the pictured handgun, including whether it appeared capable of or readily
capable of expelling a projectile. He also did not testify the DEA agent informed him,
through text, the report, or otherwise, that the handgun was or appeared capable of or
readily capable of expelling a projectile. The State pointed to no evidence in the record
regarding the handgun being capable of or readily capable of expelling a projectile.
Moreover, the district court did not find the handgun was capable of or “readily capable of
expelling” a projectile. Rather, it incorrectly relied on Clinkscales in concluding Enriquez
possessed a firearm or dangerous weapon.

[¶26] An inference the handgun can expel a projectile because it was designed to expel a
projectile is inconsistent with the term “firearm” as defined in N.D.C.C. § 12.1-01-04(9).
Unlike North Dakota, some jurisdictions broadly define “firearm” to include a weapon
“designed” to expel a projectile. See, e.g., 18 U.S.C. § 921(3); Ariz. Rev. Stat. Ann. § 13-
3101(4) (2019) (but “does not include a firearm in permanently inoperable condition”);
Ark. Code Ann. § 5-1-102(6)(A) (2021); Cal. Penal Code § 16520(a) (West 2024); D.C.
Code § 7-2501.01(9) (2023) (specifically states “regardless of operability”); Fla. Stat.
§ 790.001(9) (2023); 430 Ill. Comp. Stat. 65/1.1 (2023); Ind. Code § 35-47-1-5 (2008);
Iowa Code § 683.1(1)(b) (2024); Me. Stat. tit. 17-A, § 2(12-A) (2020); Mich. Comp. Laws
§ 750.222(e) (2015); Minn. Stat. § 609.669, subd. 2(1); Neb. Rev. Stat. § 28-1201(3)
(2024); Nev. Rev. Stat. § 202.253(3) (2023); N.H. Rev. Stat. Ann. § 173-B:1(XI) (2018);
Tex. Penal Code Ann. § 46.01(3) (West 2021); Va. Code Ann. § 18.2-308.2:2(F) (2023).




                                             8
A weapon “designed” to expel a projectile is a different level of functionality than a weapon
that “will expel” a projectile or is “readily capable of expelling” a projectile.

[¶27] In Moore v. State, 34 A.3d 513, 519 (Md. 2011), the court explained Maryland’s
definition of “firearm” has “three distinct levels of functionality under which a firearm may
fall.” Id. The first is a weapon that expels a projectile, indicating the weapon is “presently
operable.” Id. at 519-20. The second is a weapon “designed to” expel a projectile, which
may include “inoperable, albeit designed to be operable, firearms.” Id. at 520. The third
level of functionality is a weapon that “may readily be converted to expel a projectile,”
meaning the “firearm may be inoperable, although readily converted.” Id.; see also State
v. Gibbs, 769 N.E.2d 594, 596–97 (Ind. Ct. App. 2002) (concluding “firearm” defined as
“any weapon that is capable of or designed to or that may readily be converted to expel a
projectile by means of an explosion” includes an inoperable handgun because it “was
designed to expel projectiles by means of an explosion”); Gerdes v. State, 319 N.W.2d 710,
711-12 (Minn. 1982) (rejecting the argument “possession of an inoperable short-barreled
shotgun is not illegal” because “[t]he statute only addresses the original design of the
weapon”); State v. King, 674 S.W.3d 218, 231 (Mo. Ct. App. 2023) (concluding under the
plain language of statutes using term “designed” to be fired or to expel a projectile, “an
inoperable or malfunctioning weapon constitutes a firearm as long as it was designed to
expel a projectile by the action of an explosive, regardless of whether the weapon can do
so successfully”).

[¶28] North Dakota’s statutory definition of firearm is narrower than the statutory
definition in Maryland and other jurisdictions which define “firearm” to include a weapon
“designed” to expel a projectile. Under North Dakota’s statutory definition, a handgun is
not a “firearm” because it was “designed to” expel a projectile; it must be able to or readily
capable of expelling the projectile. N.D.C.C. § 12.1-01-04(9); see also In re J.T., 39 N.E.3d
1240 (Ohio 2014) (concluding under Ohio law, despite being designed as a deadly weapon,
an inoperable handgun’s “essence as a deadly weapon ended when it became inoperable”).
Thus, that a handgun was designed to expel a projectile is insufficient evidence to prove a
handgun is a “firearm” as defined in N.D.C.C. § 12.1-01-04(9).

[¶29] There is no evidence in the record indicating the handgun was able to or “readily
capable of expelling” a projectile, or from which the district court could infer the handgun
was able to or “readily capable of expelling” a projectile. The district court also did not
find the handgun was able to or “readily capable of expelling” a projectile. Based on the



                                              9
court’s specific findings and the evidence in the record, we conclude the district court’s
finding Enriquez possessed a “dangerous weapon” or “firearm” is clearly erroneous.

                                             B

[¶30] Enriquez argues the district court abused its discretion in revoking his probation.

[¶31] The district court revoked Enriquez’s probation because it found he violated the
condition of probation that he not possess a firearm or other dangerous weapon. We
concluded the district court’s finding Enriquez possessed a dangerous weapon or firearm
is clearly erroneous. Thus, the court did not have ground to revoke Enriquez’s probation.

[¶32] We conclude the district court abused its discretion in revoking Enriquez’s
probation.

                                           III

[¶33] The district court’s finding Enriquez possessed a dangerous weapon in violation of
his probation is clearly erroneous, and the court abused its discretion when it revoked
Enriquez’s probation. We reverse.

[¶34] Jon J. Jensen, C.J.
      Daniel J. Crothers
      Lisa Fair McEvers
      Jerod E. Tufte
      Douglas A. Bahr




                                            10
